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     usa0669@fedex.com
        ...
     From:                               Orlando Acosta <orlandoacosta979@gmail.com>
     Sent:                               Friday, June 29, 2018 2:43 PM
     To:                                 FedEx Kinko's Marriott Hotel
     Subject:                            Motion Requesting a defaultjudgement be entered against Leslie Acosta/ eta! Acosta vs
                                         the Democratic city committee 217CV01462 Case Number                                    .• ··_




     I Orlando Antonio am requesting a default judgement be entered against Leslie Acosta she is listed in this case                  .•
     she never responded to anything in this case this is a formal request to the court clerk to please enter a default
     judgment against Leslie Acosta and I am also making a formal request to the judge to please grant me a default
     judgement against Leslie Acosta thank you very much sincerely yours Orlando Antonio
,.
                                                                                                   FILED
                                                                                                   JUN Z9 2018
                                                                                               f(l\TE BARKMAN Cl rk
                                                                                             Bv.            Dep. Clerk




                                                       ealth of Pennsylvania. Not•rv. seal
      Sworn to and subsc~ore       me             JUDITH p. LAWltEHCE, NotllY NJt,tc
      thfs.af_ day of   -F- 20 .Lf....                  Ptllla*lphia COl.IKY
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           Case 2:17-cv-01462-JHS Document 123 Filed 06/29/18 Page 2 of 2




                                        INDIVIDUAL ACKNOWLEDGMENT

State of   Pennsylvania                                      County of    Philadelphia

oz~~is-Jb~f).J~ay'0~.~
           1                12                      I   dt/J     beforeme
__,,,_""-'-'-"""'"''"---'-'[J_'---'"""~""'-=""-="""'----------'' the undersigned Notary Public, personally appeared
_ ........._._.-=~~..............__-=------- (Name(s) of Signer(s)



                                                  =:! Personally known to me - OR -

                                                  ~ proved to me on the basis of satisfactory evidence to be
                                                 the person(s) whose name(s) is/are subscribed to the within
                                                 instrument, and acknowledged to me that he/she/they
                                                 executed the same for the purposes therein stated.



                                                                                        al.




                                                    Any other Required Information (Printed Name
                                                    Of Notary, Expiration Date, etc.)



                                                    "'q"ffiq~~L
This section is required for notarizations performed in Arizona but is optional in other states.
Completing this information can deter alternation of the document or fraudulent reattachment of this
form to an unintended document.
Description of Attached Document:

Title or Type of Document: ___          £_f),_~_7a}
                                               ___________________
Document Date:        ~ <J/! g
                      I     •
                                        Number of Pages: _ /
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Signer(s) Other Than Named Above: - - - - - - - - - - - - - - - - - - - - -
